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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                      § Civil Action No. 1:22-CV-00424-RP
PURYEAR, KATHY KENNEDY, REBECCA                 §
JONES, RICHARD DAY, CYNTHIA                     §
WARING, AND DIANE MOSTER,                       §
                                                §
       Plaintiffs,                              §
                                                §
               v.                               §
                                                §
LLANO COUNTY, RON CUNNINGHAM, in                §
his official capacity as Llano County Judge,    §
JERRY DON MOSS, in his official capacity as     §
Llano County Commissioner, PETER JONES,         §
in his official capacity as Llano County        §
Commissioner, MIKE SANDOVAL, in his             §
official capacity as Llano County               §
Commissioner, LINDA RASCHKE, in her             §
official capacity as Llano County               §
Commissioner, AMBER MILUM, in her               §
official capacity as Llano County Library       §
System Director, BONNIE WALLACE, in her         §
official capacity as Llano County Library       §
Board Member, ROCHELLE WELLS, in her            §
official capacity as Llano County Library       §
Board Member, RHONDA SCHNEIDER, in              §
her official capacity as Llano County Library   §
Board Member, and GAY BASKIN, in her            §
official capacity as Llano County Library       §
Board Member,                                   §
                                                §
       Defendants.                              §

                     JOINT NOTICE REGARDING PLAINTIFFS’
                      MOTION FOR EXPEDITED DISCOVERY




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       On June 3, 2022, the Court ordered “the parties to participate in a meet and confer to

attempt to resolve [Plaintiffs’ Motion for Expedited Discovery (ECF No. 23)] without court

intervention and to file a joint notice no later than June 7, 2022, identifying the issues that have

been resolved and the remaining outstanding issues.” (ECF No. 35.) Pursuant to the Court’s June

3, 2022 Order, the parties hereby submit this joint notice informing the Court that the parties

have reached an agreement and that there are no outstanding disputes over Plaintiffs’ expedited

discovery requests.

       Having met and conferred, the parties agree to the following:

       1.      Defendants hereby withdraw Defendants’ Response in Opposition to Plaintiffs’

               Motion for Expedited Discovery (ECF No. 33);

       2.      Defendants shall produce documents and respond to Plaintiffs’ written discovery

               requests attached as Exhibits 1-3 to Plaintiffs’ Motion for Expedited Discovery

               (ECF No. 23-1 through 23-3) by June 21, 2022;

       3.      Defendants shall produce Defendant Jerry Don Moss, Defendant Amber Milum,

               and Defendant Bonnie Wallace for deposition by June 30, 2022, which will be

               limited to four hours each;

       4.      Obtaining this discovery does not prejudice Plaintiffs from later seeking

               additional discovery or deposing witnesses during the formal discovery phase of

               this litigation. By entering into this stipulation, the parties do not waive, and

               expressly reserve, the right to take all discovery to which they are entitled under

               the Federal Rules of Civil Procedure.




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Dated: June 7, 2022                     Respectfully submitted,


By: /s/ Ellen Leonida                        By: /s/ Matthew Rienstra
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